TODD KIM
Assistant Attorney General
United States Department of Justice
Environment and Natural Resources Division
PAUL A. TURCKE (Idaho Bar No. 4759)
Trial Attorney, Natural Resources Section
1290 West Myrtle Street, Suite 500
Boise, ID 83702
202-532-5994 || 202-305-0275 (fax)
paul.turcke@usdoj.gov

Counsel for Defendants

                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF ALASKA

 NATIVE VILLAGE OF VENETIE TRIBAL
 GOVERNMENT, et al.,
                      Plaintiffs,
         v.
 DEBRA HAALAND, in her official capacity
 as Secretary of the United States Department       Case No. 3:20-cv-00223-SLG
 of the Interior, et al.,
                      Defendants,
   and
 NORTH SLOPE BOROUGH, et al.,
                      Intervenor-Defendants.


             DEFENDANTS’ STATUS REPORT ON ISSUANCE
   OF FINAL SUPPLEMENTAL ENVIRONMENTAL IMPACT STATEMENT

       This case is stayed, and in accordance with the Court’s order providing that further

status reports shall reflect “timeframes of key milestones in the process of conducting a

new environmental review and issuing a new record of decision addressing the Coastal

Plain Oil and Gas Leasing Program at issue in this litigation,” Defendants hereby provide

Native Village of Venetie v. Haaland                        Case No. 3:20-cv-00223-SLG
DEFS.’ STATUS REPORT                                                                 1

          Case 3:20-cv-00223-SLG Document 96 Filed 06/28/24 Page 1 of 3
this update on the status of the Final Supplemental Environmental Impact Statement

(“Final SEIS”). Order dated Sept. 13, 2021, at 1, ECF No. 77; see also Text Order, ECF

No. 93.

       Defendants previously advised that the Final SEIS was anticipated to issue in the

second quarter of 2024. Defendants now anticipate publication of the Final SEIS in the

third quarter of 2024. A Record of Decision will issue afterwards, consistent with the

timelines provided in the National Environmental Policy Act implementing regulations.

       Defendants will file an additional status report upon the issuance of the Final

SEIS, and will otherwise provide notice to counsel as indicated by the parties’ prior status

reports.

Respectfully submitted,

DATED: June 28, 2024.                     TODD KIM
                                          Assistant Attorney General
                                          United States Department of Justice
                                          Environment and Natural Resources Division
                                          /s/ Paul A. Turcke
                                          PAUL A. TURCKE
                                          Trial Attorney
                                          Natural Resources Section
                                          1290 West Myrtle Street, Suite 500
                                          Boise, ID 83702
                                          202-532-5994 || 202-305-0275 (fax)
                                          paul.turcke@usdoj.gov
                                          Counsel for Defendants

Of Counsel:
MIKE GIERYIC
Office of the Regional Solicitor, Alaska Region
4230 University Drive, Suite 300
Anchorage, AK 99508

Native Village of Venetie v. Haaland                         Case No. 3:20-cv-00223-SLG
DEFS.’ STATUS REPORT                                                                  2

           Case 3:20-cv-00223-SLG Document 96 Filed 06/28/24 Page 2 of 3
907-271-1420
mike.gieryic@sol.doi.gov

                            CERTIFICATE OF SERVICE

       I hereby certify that on June 28, 2024, a copy of the foregoing was served by
electronic means on all counsel of record by the Court’s CM/ECF system.

                                  /s/ Paul A. Turcke
                                      Paul A. Turcke




Native Village of Venetie v. Haaland                       Case No. 3:20-cv-00223-SLG
DEFS.’ STATUS REPORT                                                                3

         Case 3:20-cv-00223-SLG Document 96 Filed 06/28/24 Page 3 of 3
